  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 1 of 8 PAGEID #: 1


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                COLUMBUS DIVISION

 DANIEL CASTILLO,                          )
                                           )                  COMPLAINT
        Plaintiff,                         )
                                           )
 v.                                        )          Civil Action No. 22-cv-3720
                                           )
                                           )
 MLG§ CONSTRUCTION OHIO, LLC               )             JURY TRIAL DEMANDED
 andKJKJKJKJK
     CESAR GONZALEZ,                       )
                                           )
        Defendants.                        )

            Plaintiff Daniel Castillo’s Original Complaint and Jury Demand

       Plaintiff Daniel Castillo (“Mr. Castillo” or “Plaintiff”) serves the following Original

Complaint on Defendants MLG Construction Ohio, LLC (“MLG”) and Cesar Gonzalez

(“Mr. Gonzalez”) (collectively “Defendants”) and alleges the following:

                                             I.
                                           Parties

       1.      Plaintiff Daniel Castillo is an individual residing in Hidalgo County, Texas.

       2.      Defendant MLG Construction Ohio, LLC is a limited liability company with

its principal office and principal place of business at 372 Postle Boulevard, Columbus, Ohio,

43228. This entity may be served via its registered agent Cesar Gonzalez at 372 Postle

Blvd., Columbus, Ohio 43228 or wherever he may be found.

       3.      Defendant Cesar Gonzalez is an individual residing in Columbus, Ohio. He

may be served at 372 Postle Blvd., Columbus, Ohio 43228 or wherever he may be found.

                                             II.
                                  Jurisdiction and Venue

       4.      This Court has subject matter jurisdiction over this cause of action because

complete diversity exists pursuant to 28 U.S.C. § 1332. The Parties are citizens of different

states, and Plaintiff seeks relief in excess of $75,000, exclusive of interests and costs.
  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 2 of 8 PAGEID #: 2


         5.    Venue is proper in the United States District Court For the Southern District

of Ohio pursuant to 28 U.S.C. § 1391(b)(1) because both Defendants are at home in his

forum.

                                            III.
                                   Factual Background

   A. Introduction to the Parties.

         6.    MLG is a construction company that operates throughout the United States

and Canada. MLG is owned and controlled by Defendant Cesar Gonzalez out of

Columbus, Ohio.

         7.    MLG has few W-2 employees. Most of its workers are contract laborers or

contractors paid by 1099 or paid cash under the table. MLG hires mostly undocumented

or hispanic laborers willing to work for very low compensation.

         8.    Daniel Castillo lives with his family in Hidalgo County, Texas. He is thirty-

four-years-old.

         9.    Cesar Gonzalez hired Daniel Castillo as a contract laborer and paid him

cash via Cashapp. Cesar Gonzalez initially hired Daniel Castillo to work on a project in

Canada. But ultimately, Cesar Gonzalez paid Mr. Castillo to relocate to Shelby, Iowa in

April of 2022 to work as a contract laborer at a construction project, building a Menards

Distribution Center in Shelby, Iowa; MLG was hired as a subcontractor on the project to

frame the distribution center.

         10.   Even though MLG hired Mr. Castillo as a contract worker, MLG controlled

the means and methods of Mr. Castillo’s work. MLG and Mr. Gonzalez supervised and

managed Mr. Castillo’s day-to-day labor. Defendants were also required to provide the

tools, equipment, and materials Mr. Castillo needed to perform his job.




                                             2
  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 3 of 8 PAGEID #: 3


       11.    Therefore, while Mr. Castillo was not an employee of Cesar Gonzalez and

MLG, Defendants exercised control over Mr. Castillo sufficient to impose a duty on

Defendants to provide him with a safe work site.

   B. On April 24, 2022, Mr. Castillo falls off a collapsing, unsafe, make-shift
      scaffold and suffers life-altering injuries.

       12.    On April 24, 2022, Mr. Castillo was framing the distribution center with

Defendants. Defendants failed to provide its laborers with safe scaffolds so they could

safely perform their work. Instead, Defendants required Mr. Castillo to stand on a small

two by four-inch board, twenty-feet above the ground. The board was nailed into place,

and the board served as a make-shift scaffold.

       13.    But this board was not meant to support one or more grown men standing

on the board and hammering for long periods of time. Defendants—who were in charge

of safety—knew their contractor laborers were working on these incredibly unsafe

conditions. Defendants not only allowed this unsafe condition to occur, but Defendants

openly encouraged Mr. Castillo and his laborers to utilize these make-shift scaffolds to

save time and money. Defendants placed profits over safety.

       14.    Each time Mr. Castillo hammered, the board shifted, causing the board to

come loose from the nail holding it in place. Eventually the board snapped free, causing

the make-shift scaffold to collapse.

       15.    Mr. Castillo fell over twenty feet to the ground and landed on his back. Mr.

Castillo broke his back in several places in addition to numerous other life-altering

orthopedic injuries and lacerations across his body.

       16.    Mr. Castillo was airlifted to the University of Nebraska Medical Center for

emergency surgeries. Despite knowing that its contract worker had been injured on its

make-shift scaffold, Defendants ignored Mr. Castillo, refused to pay for his medical bills,

                                            3
  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 4 of 8 PAGEID #: 4


and never came to visit him or call him in the hospital. To make matters worse,

Defendants refused to pay Mr. Castillo for his contracted services prior to his injuries.

Defendants are unrepentant.

       17.    Mr. Castillo brings this lawsuit to recover damages from his injuries and to

ensure Defendants’ unsafe and dangerous conduct ceases. A life is more important than

a company.

                                          IV.
                                    Causes of Action

   A. Negligence/Gross Negligence

       18.    Plaintiff incorporates the above paragraphs as if set forth in full below.

       19.    Defendants owed Mr. Castillo a reasonable and ordinary duty of care to act

as a reasonably prudent person would. On the occasion in question, Defendants

committed acts of omission and commission, which collectively and severally constituted

negligence and gross negligence. Defendants’ imprudent acts included, but were not

limited to:

   •   Failing to recognize and remediate hazards;

   •   Requiring Mr. Castillo to work on an unsafe surface;

   •   Failing to prevent unsafe conditions when it knew laborers were working under

       unsafe conditions;

   •   Failing to inspect the site to identify known hazards;

   •   Failing to warn invitees of reasonable hazards to be avoided;

   •   Failing to provide the necessary equipment for Mr. Castillo to perform his duties;

   •   Misrepresenting that the conditions were safe when they were not;

   •   Failing to properly inspect and supervise the work performed;

   •   Failing to conduct a JSA;

                                             4
Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 5 of 8 PAGEID #: 5



 •   Conducting a deficient JSA;

 •   Failing to properly warn employees that it was dangerous to erect and work on a

     make-shift scaffold, such as the one Mr. Castillo was working on;

 •   Failing to warn of the dangerous propensity of the 2x4 to collapse;

 •   Choosing to disregard and ignore generally accepted principles for managing a job

     site;

 •   Choosing to disregarding and ignore its obligation to hold the safety of Mr. Castillo

     paramount;

 •   Failing to instruct Mr. Castillo not to stand on the make-shift scaffold;

 •   Failing to supervise Mr. Castillo’s work site;

 •   Failing to train its employees on how to supervise third party laborers and/or their

     work site;

 •   Failing to protect Mr. Castillo from reasonably foreseeable dangers;

 •   Failing to provide adequate safety equipment;

 •   Failing to maintain a safe work site;

 •   Failing to provide timely assistance;

 •   Ordering Mr. Castillo to perform unsafe and/or dangerous work;

 •   Promulgating policies and procedures that were inadequate and unsafe;

 •   Contributing to an unsafe work site;

 •   Failing to ensure a comprehensive job safety analysis was completed that

     identified and addressed all hazards;

 •   Failing to warn of a known hazard;

 •   Failing to follow OSHA and/or governmental utility standards with regard to safety

     equipment and work site requirements;

                                             5
  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 6 of 8 PAGEID #: 6



   •   Failing to follow industry standards, guidelines and requirements relating to the

       work performed by Mr. Castillo;

   •   Failing to properly train laborers that Defendants controlled on the work at issue in

       this case;

   •   Placing profits over safety;

   •   Failing to read, understand, and follow published safe work policies and

       procedures;

   •   Preparing and promulgating a work plan that was unworkable and unsafe; and

   •   Participating in and contributing to the acts that cause the incident in question.

       20.    Each of these acts and omissions, singularly or in combination with others,

constitute negligence on the part of Defendants, which was a direct and proximate cause

of this incident and the injuries sustained by Plaintiff. These actions were knowing,

reckless, and willfully indifferent or malicious. Plaintiff thus seeks punitive damages.

   B. Respondeat Superior/Agency

       21.    Plaintiff incorporates the above paragraphs as if set forth in full below.

       22.    At all times, Defendants’ contractors, employees, owners and laborers were

agents and/or servants on behalf of Defendants. Defendants exercised control over their

agents and/or servants, and Defendants’ servants were operating within the scope of their

employment for Defendants.

       23.    As such, these Defendants are liable for the conduct and damages caused

by any conduct of their employees that contributed to the damages sought in this suit.

                                            V.
                                         Damages

       24.    As a direct and proximate result of the foregoing events, Plaintiff Castillo

suffered damages in the past and, in reasonable probability, will continue to suffer

                                             6
  Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 7 of 8 PAGEID #: 7


damages in the future, including physical pain and suffering, disfigurement, mental

anguish, loss of earning capacity, past, present, and future medical expenses, all for

which Plaintiff seeks recovery herein. Plaintiff also seeks punitive damages.

                                          VI.
                                  Demand for Jury Trial

       25.    Plaintiff respectfully demands a jury trial and tenders the appropriate fee

with this Complaint.

                                            VII.
                                           Prayer

       26.    For the aforementioned reasons, Plaintiff Daniel Castillo prays for judgment

against Defendants in the amount of ten million dollars ($10,000,000) for actual damages

for pecuniary losses, pain and suffering, disfigurement, mental anguish, and past,

present, and future medical expenses; economic damages, exemplary damages, pre-

judgment and post-judgment interest as allowed by law; all costs of Court; and all such

other and further relief, at law and in equity, to which he may be justly entitled.

                                           Respectfully Submitted,

                                    By:    /s/Charles E. Boyk        ____
                                           Charles E. Boyk (0000494)
                                           cboyk@charlesboyk-law.com
                                           Charles E. Boyk Law Offices, LLC
                                           1500 Timberwolf Drive
                                           Toledo, Ohio 43528
                                           Telephone: 419-241-1395
                                           Facsimile: 419-241-8731

                                           Co-Counsel and Local Counsel for Plaintiff

                                    -      And    -

                                    By:    /s/ Anthony G. Buzbee
                                           Anthony G. Buzbee
                                           State Bar No. 24001820
                                           tbuzbee@txattorneys.com
                                           David L. Bergen
                                           State Bar No. 24097371
                                              7
Case: 2:22-cv-03720-SDM-CMV Doc #: 1 Filed: 10/18/22 Page: 8 of 8 PAGEID #: 8


                                   dbergen@txattorneys.com
                                   Brittany Ifejika
                                   State Bar No. 24111011
                                   bifejika@txattorneys.com
                                   Thomas C. Holler
                                   State Bar No. 24126898
                                   choller@txattorneys.com
                                   The Buzbee Law Firm
                                   J.P. Morgan Chase Tower
                                   600 Travis, Suite 7300
                                   Houston, Texas 77002
                                   Telephone: (713) 223-5393
                                   Facsimile: (713) 223-5909
                                   www.txattorneys.com

                                   Lead Counsel for Plaintiff Daniel Castillo

                                   (Applications for Admission Pro Hac Vice
                                   Filed At or About the Time of Filing of This
                                   Petition and Are Pending)




                                     8
